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                   UNITED STATES COURT OF APPEALS
                          FOR THE NINTH CIRCUIT
             Form 1. Notice of Appeal from a Judgment or Order of a
                           United States District Court
Name of U.S. District Court:                 Northern District of California

U.S. District Court case number: 21-cv-03501-BLF

Date case was first filed in U.S. District Court: May 10, 2021

Date of judgment or order you are appealing:                       February 10, 2022
Fee paid for appeal? (appeal fees are paid at the U.S. District Court)
   Yes         No           IFP was granted by U.S. District Court

List all Appellants (List each party filing the appeal. Do not use “et al.” or other abbreviations.)
  GAETANO DIVITTORIO, an individual; MARYANN DIVITTORIO, an
  individual, Plaintiffs




Is this a cross-appeal?          Yes           No
If Yes, what is the first appeal case number?

Was there a previous appeal in this case?                      Yes           No
If Yes, what is the prior appeal case number?

Your mailing address:
1301 Dove Street, Suite 800



City: Newport Beach                           State: CA               Zip Code: 92660

Prisoner Inmate or A Number (if applicable):

Signature       /s/ Chris C. Chapman                                    Date Mar 10, 2022
     Complete and file with the attached representation statement in the U.S. District Court
                    Feedback or questions about this form? Email us at forms@ca9.uscourts.gov

Form 1                                                                                          Rev. 12/01/2018
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                     UNITED STATES COURT OF APPEALS
                          FOR THE NINTH CIRCUIT
                        Form 6. Representation Statement
     Instructions for this form: http://www.ca9.uscourts.gov/forms/form06instructions.pdf
Appellant(s) (List each party filing the appeal, do not use “et al.” or other abbreviations.)
Name(s) of party/parties:
GAETANO DIVITTORIO, an individual, MARYANN DIVITTORIO, an
individual, Plaintiffs

Name(s) of counsel (if any):
Chris C. Chapman
Rudderow Law Group


Address: 1301 Dove Street, Suite 800, Newport Beach, CA 92660
Telephone number(s): 949-565-1344
Email(s): chris@rudderowlaw.com
Is counsel registered for Electronic Filing in the 9th Circuit?                            Yes        No

Appellee(s) (List only the names of parties and counsel who will oppose you on appeal. List
separately represented parties separately.)
Name(s) of party/parties:
CITY OF SANTA CLARA, a public entity, and DOES 1-50, inclusive,
Defendants

Name(s) of counsel (if any):
Claire T. Cormier
James R. Williams
Office of the County Counsel
Address: 70 West Hedding St., East Wing, Ninth Fl. San Jose, CA 95110
Telephone number(s): 408-299-5900
Email(s): Claire.Cormier@cco.scc.gov.org


To list additional parties and/or counsel, use next page.
                   Feedback or questions about this form? Email us at forms@ca9.uscourts.gov

Form 6                                                1                                        Rev. 12/01/2018
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Continued list of parties and counsel: (attach additional pages as necessary)
Appellants
Name(s) of party/parties:



Name(s) of counsel (if any):



Address:
Telephone number(s):
Email(s):
Is counsel registered for Electronic Filing in the 9th Circuit?                               Yes     No
Appellees
Name(s) of party/parties:



Name(s) of counsel (if any):



Address:
Telephone number(s):
Email(s):
Name(s) of party/parties:



Name(s) of counsel (if any):



Address:
Telephone number(s):
Email(s):
                  Feedback or questions about this form? Email us at forms@ca9.uscourts.gov

Form 6                                               2                                         Rev. 12/01/2018
